Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 1 of 25




           Exhibit B
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 2 of 25




SHOOK HARDY AND BACON                              Invoice No:                           3021400
JOHN LEWIS, JR, RECEIVER                           Invoice Date:                       08/09/2023
600 TRAVIS ST, SUITE 3400                          Matter Number:                   33206.389768
HOUSTON, TX 77002-2926                             Billing Attorney:                John Lewis Jr.




Summary of Invoice
For Professional services and disbursements thru July 31, 2023

Lewis, John, Jr., Receiver - SEC vs. Mauricio Chavez, et al.




Current Fees                                                                         $157,852.00
Current Disbursements                                                                   47,650.38



Total Amount Due                                                                     $205,502.38




REMITTANCE INFORMATION
Please verify your records reflect our new Wiring Instructions and Remit Address.

Wiring Instructions                            Remit Address
Commerce Bank                                  Shook, Hardy & Bacon L.L.P.
1000 Walnut                                    PO Box 843718
Kansas City, MO 64106                          Kansas City, MO 64184-3718
ABA Number: 101000019
SWIFT: CBKCUS44                                Federal Tax ID:
Account Number: 43056                          XX-XXXXXXX



Payments received after July 31, 2023 may not be reflected herein.
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 3 of 25
                                                                                                         2



                                                                       33206.389768 3021400 08/09/2023



Invoice Detail
For Professional services and disbursements thru July 31, 2023

Lewis, John, Jr., Receiver - SEC vs. Mauricio Chavez, et al.

Professional Services

Date       Attorney     Description                                               Hours       Amount

SEC01      Asset Analysis

04/03/23   STV          Review responses to subpoena and confer with the            1.10       $467.50
                        team and Blocktrace re investor payments in crypto
                        currency
04/04/23   STV          Call with real estate broker re appraisal of the Waller     0.20         85.00
                        county Clear creek property
04/04/23   STV          Review case documents re payments in crypto and             0.80        340.00
                        email with relevant investors
04/04/23   KKP          Draft Taffinder turnover letter.                            1.20        510.00
04/06/23   STV          Confer with Gulfstream and Blocktrace re nano               0.50        212.50
                        ledger access
04/06/23   CMG          Draft interview questions for Gabriel Torres.               0.50        212.50
04/07/23   STV          Review real estate records on Fort Bend county              0.80        340.00
                        properties, call with title company on same, and
                        email with counsel for Chavez and J. Gonzalez re
                        transfer of the properties
04/07/23   STV          Emails with Chavez's counsel and team re nano               0.20         85.00
                        ledger
04/07/23   ALTZ         Communicate with Ms. Themeli regarding a                    0.10         42.50
                        SalesForce image.
04/07/23   CMG          Revise interview questions for interview with Gabriel       0.80        340.00
                        Torres.
04/10/23   STV          Review email re BTC payments to Chicago leaders             0.20         85.00
                        and confer with the team re same
04/13/23   STV          Call with real estate broker re inspection of Mack          0.30        127.50
                        Washington property
04/14/23   ALTZ         Communicate with Mr. Askue and Ms. Themeli                  0.10         42.50
                        regarding SalesForce access.
04/14/23   ALTZ         Verify renewed full access to SalesForce.                   0.20         85.00
04/17/23   STV          Review third party records, finalize lis pendens and        0.80        340.00
                        coordinate recording
04/18/23   STV          Call with Blocktrace re CryptoFX cryptocurrency             0.70        297.50
                        transactions
05/02/23   ALTZ         Analyze SalesForce data to determine information            0.20         85.00
                        regarding a CFX email account.
05/02/23   ALTZ         Communicate with Ms. Themeli regarding CFX                  0.10         42.50
                        email access.
05/04/23   STV          Emails with real estate broker re Clear creek               0.20         85.00
                        property appraisal and listing
05/05/23   STV          Call with real estate broker re market analysis and         1.40        595.00
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 4 of 25
                                                                                                  3



                                                                33206.389768 3021400 08/09/2023

                  listing of the property and review appraisals of Creak
                  creek property
05/05/23   STV    Confer with team analysis of defendants bank and           0.20         85.00
                  other financial records
05/09/23   STV    Review market analysis on Clear Creek and confer           0.60        255.00
                  with the Receiver team re listing of the property
05/19/23   STV    Call with BlockTrace regarding report and confer           0.80        340.00
                  with the team re same
05/24/23   STV    Review emails with Blocktrace and revise status            1.10        467.50
                  report on crypto currency tracing
05/26/23   ALTZ   Communicate with Ms. Themeli and Mr. Percy                 0.10         42.50
                  regarding producing copies of SalesForce.
05/26/23   ALTZ   Communicate with Mr. Percy regarding options for           0.10         42.50
                  producing copies of the SalesForce data.
05/30/23   ALTZ   Communicate with Mr. Percy regarding additional            0.10         42.50
                  options for producing copies of SalesForce.
06/05/23   STV    Review email re crypto wallets and confer with the         0.50        212.50
                  team re Blocktrace analysis of additional accounts
06/06/23   ALTZ   Communicate with Ms. Themeli regarding the                 0.10         42.50
                  SalesForce data set.
06/06/23   STV    Confer with the team re receivership asset valuation       0.20         85.00
                  and liquidation
06/07/23   ALTZ   Communicate with Mr. Percy regarding directions for        0.10         42.50
                  alternative data transfer.
06/07/23   ALTZ   Communicate with Ms. Themili regarding issues with         0.10         42.50
                  data transfer.
06/07/23   ALTZ   Communicate with Ms. Harris regarding issues with          0.10         42.50
                  data transfer.
06/07/23   ALTZ   Resolve issues with data transfer.                         2.20        935.00
06/08/23   ALTZ   Telephone conference with Mr. Percy regarding the          0.20         85.00
                  data transfer details and issues.
06/08/23   ALTZ   Communicate with Mr. Percy regarding directions for        0.10         42.50
                  data transfer.
06/09/23   STV    Call with S. Askue re Vargas demand for turn over          0.50        212.50
                  of Receivership assets
06/12/23   CMG    Attend team strategy meeting to determine                  0.50        212.50
                  additional assets to pursue.
06/14/23   STV    Review personal property in the possession of the          0.90        382.50
                  Receiver and coordinate value analysis
06/15/23   ALTZ   Communicate with Ms. Themeli regarding the                 0.10         42.50
                  SalesForce data.
06/20/23   CMG    Attend team strategy call to determine what assets         0.50        212.50
                  to pursue next given cost to pursue them and value
                  of the asset.
06/22/23   PEP    Analyze issues related to title for Mack Washington        0.20         85.00
                  project.
06/22/23   PEP    Review most recent asset analysis from S. Askue            0.20         85.00
                  for purposes of considering litigation strategy.
06/22/23   CMG    Evaluate possible avenues to seek recovery from            1.20        510.00
                  PLS.
06/23/23   PEP    Review assets lined up for disposition by auction.         0.20         85.00
06/26/23   PEP    Attend to strategy for collecting and securing             0.20         85.00
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 5 of 25
                                                                                                   4



                                                                 33206.389768 3021400 08/09/2023

                     computer, and subsequent analysis.
06/26/23   PEP       Analyze outstanding items associated with Chavez's       0.20         85.00
                     prior counsel.
06/26/23   PEP       Communicate with John Sklar regarding computers          0.20         85.00
                     in Mr. Chavez's custody.
06/26/23   CMG       Attend team strategy call to determine what assets       0.70        297.50
                     to pursue next given cost to pursue them and value
                     of the asset.
06/27/23   PEP       Attention to Chavez's personal property and              0.40        170.00
                     communications with his counsel regarding turnover
                     of same.
06/28/23   PEP       Analyze communications from Webster's auctions to        0.20         85.00
                     Chavez counsel regarding missing items.
06/29/23 PEP         Further attention to Mack Washington sale.               0.20         85.00
Subtotal for SEC01   Asset Analysis                                          23.40     $9,945.00

SEC02      Asset Disposition

04/03/23   STV       Confer with K. Powell re motion for sale of personal     0.60       $255.00
                     property and additional supporting documents;
                     emails with real estate broker and title company re
                     sale of 28 Lawrence property
04/06/23   STV       Email with Coinbase re liquidation of additional         0.20         85.00
                     account and Mike Poutous re sales of cars
04/07/23   STV       Call with real estate broker re appraisal of Mack        0.50        212.50
                     Washington property and Fort Bend properties;
                     email with car dealer re sale of automobiles
04/09/23   STV       Revise motion for sale of personal property and          0.50        212.50
                     confer with K. Powell re same
04/10/23   KKP       Draft receiver's motion to sell vehicles.                0.50        212.50
04/10/23   KKP       Confer w/ S. Themeli and M. poutus regarding title       0.20         85.00
                     to vehicles and outstanding liens.
04/17/23   KKP       Assist with closing documents for 28 Lawrence            0.20         85.00
                     Marshall.
04/17/23   KKP       Confer with M. Poutus regarding sell of vehicles and     0.10         42.50
                     court order.
04/20/23   KKP       Email M. Poutus regarding title for Mercedes             0.10         42.50
                     vehicle.
05/01/23   STV       Email with M. Poutous re sale of BMW                     0.20         85.00
05/04/23   STV       Emails and call with M. Poutous re sale of VW and        0.80        340.00
                     BMW and titles; confer with the Receiver re same
05/08/23   STV       Confer with team re sale of VW and check                 0.20         85.00
05/12/23   STV       Review spreadsheet of Chavez's personal property         0.30        127.50
                     requested by Receiver to be turned over and confer
                     with P. Flack re same
05/12/23   STV       Emails with real estate broker re listing agreement      0.20         85.00
                     for Clear Creak property
05/15/23   STV       Emails with P. Flack and Billy Webster re Chavez's       0.30        127.50
                     personal property turnover and sale
05/16/23   STV       Review listing agreement for Clear Creek property        0.40        170.00
                     and confer with real estate agent and Receiver re
                     same
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 6 of 25
                                                                                                      5



                                                                    33206.389768 3021400 08/09/2023

05/17/23   STV       Coordinate review of additional personal property to        0.40        170.00
                     be liquidated by Webster
05/17/23   STV       Emails and call with Kelsey Morris, real estate agent       0.30        127.50
05/17/23   STV       Prepare letter to Webster's re sale of personal             0.20         85.00
                     property
05/17/23   STV       Review email by prospective buyer of BMW and                0.20         85.00
                     respond to same; email with Poutous re lien
05/18/23   STV       Email with M. Poutous re inspection of BMW                  0.10         42.50
05/23/23   STV       Call with Mike Poutous and emails with the team re          0.30        127.50
                     pay off and sale of BMW and sale of Mercedes
05/24/23   STV       Review list of Chavez personal property to be               0.30        127.50
                     liquidated and confer with Webster and P. Flack re
                     same
06/05/23   STV       Email with Mike Poutous re clear title on BMW and           0.10         42.50
                     sales of the vehicles
06/13/23   STV       Follow up with real estate broker, Websters and             0.40        170.00
                     Michael Poutous re sale of real estate and sale of
                     Receivership personal property
06/23/23   PEP       Confer with B. Webster regarding items needed for           0.20         85.00
                     auction.
06/23/23   PEP       Various communication with real estate team                 0.40        170.00
                     regarding potential sale of Mack Washington
                     property.
Subtotal for SEC02   Asset Disposition                                           8.20     $3,485.00

SEC04      Case Admin

04/03/23   STV       Email with NY and Connecticut counsel re filing of          0.40       $170.00
                     the notice of receivership and coordinate service.
04/03/23   KKP       No bill--draft fee app.                                     3.00    No Charge
04/03/23   KKP       Internal team call with G. Hayes, J. Lewis, S.              0.90       382.50
                     Themeli, C. Geiser regarding upcoming deadlines
                     and outstanding tasks.
04/03/23   STV       Review invoice by Rapp&Krock and confer with the            0.60        255.00
                     Receiver and team re same; confer with team re
                     additional calls from investors
04/03/23   STV       Review documents to be produced in response to              1.50        637.50
                     Chavez request for documents; confer with A.
                     Tanner re Salesforce accounts
04/03/23   CMG       Attend weekly team call to determine outstanding            0.90        382.50
                     action items for this week.
04/04/23   KKP       No bill-draft fee application.                              3.00    No Charge
04/05/23   KKP       No bill-draft fee app.                                      3.00    No Charge
04/05/23   STV       Review defendants' bank records and confer with             3.80     1,615.00
                     the team re same; confer with e-discovery team re
                     CFX devices and status of collection; confer with the
                     team re crypto currency investments and coordinate
                     follow up with investors; follow up with counsel for IS
                     re document requests; confer with the team
                     documents requested by title company on 28
                     Lawrence; coordinate additional case management
                     tasks
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 7 of 25
                                                                                                  6



                                                                33206.389768 3021400 08/09/2023

04/06/23   STV    Review emails with investors and respond to same           0.20         85.00
04/09/23   STV    Coordinate review of investor information and confer       0.30        127.50
                  with Illinois secretary of state
04/10/23   STV    Review Flack invoices and follow up re payment;            0.40        170.00
                  coordinate payment of GB.
04/10/23   STV    Call with Plateau Wild Life Management re valuation        0.60        255.00
                  application for Mack Washington property and
                  related tasks, review application and affidavit and
                  coordinate execution
04/10/23   STV    Review investor information and email with Il SOS re       0.20         85.00
                  same
04/11/23   STV    Call with real estate broker re Mack Washington            0.80        340.00
                  property; review Wild Life Management tasks and
                  confer with the Receiver re same.
04/11/23   STV    Analysis of company documents and supplement               2.50      1,062.50
                  and revise motion to compel
04/12/23   STV    Emails with counsel for CFX leaders; confer with the       1.70        722.50
                  Receiver re agreement with Plateau and other
                  Receivership administration issues; coordinate
                  research on additional CFX leaders; prepare D&C
                  letter
04/14/23   STV    Call with G. Hays re crypto transactions, subpoenas        1.20        510.00
                  and report; review deposition testimony and analysis
                  of claims against third parties; review transaction
                  information from CFX leader; confer with Plateau
                  Wild Life management re Receiver's affidavit
04/14/23   STV    Confer with the team re subpoena responses from            0.30        127.50
                  crypto currency platforms
04/17/23   STV    Revise subpoenas and demand letters to leaders;            1.10        467.50
                  review case documents; call and email with Chicago
                  leaders; review closing documents for the sale of
                  Waller county property; email with counsel for A.M.
                  CFX employee re depositions scheduling; review
                  email from Chavez's counsel re request for turn over
                  of personal property.
04/17/23   STV    Prepare for and attend strategy call with the receiver     0.50        212.50
                  and the team
04/17/23   STV    Review case documents to investigate claims                0.80        340.00
                  against third parties
04/18/23   STV    Analysis of deposition testimony and company               2.20        935.00
                  records in preparation for supplementation of motion
                  to compel and Ponzi report
04/18/23   STV    Email correspondence with counsel for CFX                  0.50        212.50
                  employees, call with Webster re sale of personal
                  property; coordinate review of inventory; emails with
                  title company re closing of sale;
04/19/23   STV    Call with counsel CA CFX leaders                           0.20         85.00
04/21/23   STV    Revise and supplement Motion to compel and                 1.50        637.50
                  affidavit in support thereof
04/22/23   STV    NO BILL Review SEC billing guidelines and revise           2.20    No Charge
                  Fee application
04/24/23   STV    Review final application re property valuation by          0.50        212.50
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 8 of 25
                                                                                                 7



                                                               33206.389768 3021400 08/09/2023

                  Plateau Wild Life management and confer with
                  Shane Davis re same
04/24/23   STV    Review email and chart on cryptocurrency                  1.30        552.50
                  transactions prepared by Blocktrace and coordinate
                  preparation of additional subpoenas.
04/25/23   STV    Confer with team re Chavez's request to modify            2.50      1,062.50
                  order; call with counsel for SEC; review Wild
                  Management plan and finalize same; confer with
                  Plateau to filing of the plan; call with e-discovery
                  team re document collection; emails with M.
                  Poutous re sales of BMW; call and email with
                  Santander Bank re note on BMW; call with American
                  express re response to subpoena
04/25/23   STV    NO BILL - Revise pro formas in preparation for            2.90    No Charge
                  drafting fee application
04/26/23   STV    NO BILL - Revise pro formas in preparation for fee        0.30    No Charge
                  application
04/26/23   STV    Review case documents, supplement receiver's              2.50      1,062.50
                  third report, confer with Pugh Accardo regarding
                  their invoice; confer with the team re updates on
                  Receiver website and investor tracking; revise
                  subpoenas to cryptocurrency platforms; call wth
                  Greg Hays re Receiver's third interim report
04/26/23   STV    Review documents produced by Rapp& Krock,                 0.80        340.00
                  privilege log, and invoice and confer with the
                  Receiver and Rapp & Krock them re same
04/27/23   STV    Research SwitChain cryptocurrency exchange and            0.70        297.50
                  confer with Hays group and Blocktrace transactions
                  on subpoena to the same
04/28/23   STV    Coordinate update to Receiver's website; email with       0.40        170.00
                  SwitChain crypto exchange re subpoena requesting
                  documents; prepare exhibits to third report
04/30/23   STV    Review and revise analysis of report by Blocktrace        0.50        212.50
                  re tracing of cryptocurrency transactions
05/01/23   STV    Prepare for and meet with the Receiver and Hays           1.20        510.00
                  team re upcoming deadlines and case tasks,
                  discuss case strategy
05/01/23   STV    Emails with counsel for Colony Ridge Land;                2.10        892.50
                  coordinate research on additional CFX leader (J.
                  Torres) and preparation of demand letter; analysis of
                  company documents in preparation for interview
                  with CFX employees AM and OM; review email from
                  investors
05/04/23   STV    Confer with the team re new tasks and upcoming            0.80        340.00
                  deadlines
05/04/23   STV    No BILL -- revise and supplement Receiver's fee           5.90    No Charge
                  application
05/05/23   CAU    Discuss interview strategy with supervisor for a          0.50        212.50
                  future interview with ER; draft correspondence for
                  ER in foreign language; send correspondence to
                  ER.
05/05/23   STV    Email with Louisiana investor                             0.10         42.50
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 9 of 25
                                                                                                  8



                                                                33206.389768 3021400 08/09/2023

05/05/23   STV    Call and emails with e-discovery team documents            0.30        127.50
                  and Relativity
05/05/23   STV    Emails with counsel for Connecticut investors              0.20         85.00
05/05/23   STV    Review email from immigration group and                    0.30        127.50
                  coordinate preparation of additional demand and
                  cease and desist letters
05/05/23   STV    Review email and wire transfer from CFX Boston             0.20         85.00
                  investor
05/08/23   STV    Confer with the team re following up on demand             0.20         85.00
                  letters
05/08/23   LJG    Research to obtain background report on individual         0.10         18.00
                  for Mia Fleming.
05/09/23   STV    Emails with counsel for CFX leader SR.                     0.20         85.00
05/10/23   YKR    Draft summary and analysis of the information              2.10        892.50
                  recorded on CFX leaders' spreadsheets based on a
                  review of the recorded interview of Ana Munoz.
05/10/23   YKR    Review and analyze interview of Ana Munoz and              2.20        935.00
                  draft a summary of the interview based on such
                  review.
05/10/23   YKR    Draft summary and analysis of the operations of the        2.00        850.00
                  CFX office at Blalock based on a review of the
                  interview of Ana Munoz.
05/11/23   CAU    Discuss interview strategy with supervisor for a           1.00        425.00
                  future interview with SV; correspond with SV
                  regarding interview tomorrow; correspond with EG
                  regarding a future interview.
05/11/23   STV    Coordinate analysis of interview with CFX employee         0.70        297.50
                  with Y. Rashad; coordinate interviews with CFX
                  leaders; coordinate payment of invoices;
05/12/23   CAU    Prepare for and conduct interview with SV; draft and       2.70      1,147.50
                  organize notes that were uploaded to file system;
                  discuss interview with Sonila T.
05/12/23   STV    Coordinate research on additional leaders; research        0.40        170.00
                  on third party assets and lis pendens
05/12/23   STV    Prepare for interview with CFX leader SV and               2.70      1,147.50
                  conduct interview
05/12/23   YKR    Draft summary and description of CFX leaders               1.90        807.50
                  identified by Ana Munoz in her interview to include in
                  interview summary.
05/12/23   YKR    Draft summary and description of CFX contacts              2.60      1,105.00
                  identified by Ana Munoz in her interview to include in
                  the interview summary.
05/12/23   YKR    Draft introduction and background section to include       1.90        807.50
                  in the Ana Munoz interview summary.
05/12/23   YKR    Draft summary and analysis of the accounting               3.20      1,360.00
                  department at CFX's office in Houston to include
                  based on a review of the recorded interview of Ana
                  Munoz.
05/15/23   STV    Prepare for and conduct weekly strategy call with          1.00        425.00
                  the receiver and the team
05/15/23   YKR    Revise section in written summary of Ana Munoz's           2.30        977.50
                  interview containing discussion and analysis of the
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 10 of 25
                                                                                              9



                                                            33206.389768 3021400 08/09/2023

                 process of opening new investor contracts at CFX.
05/15/23   YKR   Research procedural requirements for filing lis         0.90        382.50
                 pendens in Illinois and draft summary of same.
05/15/23   YKR   Revise section in written summary of Ana Munoz's        2.30        977.50
                 interview containing discussion and analysis of the
                 process of calculating elite bonuses.
05/16/23   CAU   Attempt to contact investor through numerous            0.30        127.50
                 communication means based updated contact
                 information.
05/16/23   STV   Review email and investor documents including           0.30        127.50
                 cashier's check made to Luxury Real estate from
                 CFX investor and confer with the team re same
05/16/23   STV   Confer with the team re status call; email with M.      0.60        255.00
                 Poutous re payoff of BMW; call with Chicago
                 investor; emails with Flack and Webster re pick of
                 personal property.
05/16/23   YKR   Revise analysis of CFX accounting operations in         2.90      1,232.50
                 written summary of Ana Munoz's interview.
05/16/23   YKR   Review audio recording of Cindy Mezomo's                1.90        807.50
                 interview to determine process for opening new
                 contracts at the CFX office in Houston.
05/16/23   YKR   Review audio recorded interview of Cindy Mezomo         2.20        935.00
                 to determine accounting operations at CFX.
05/17/23   CAU   Conduct interview with JA based on correspondence       0.60        255.00
                 with JA; update internal records based on JA
                 correspondence; discuss future strategy with
                 supervisor in view of JA interview.
05/17/23   STV   Confer with the team re recording of additional         0.40        170.00
                 emails from investors; confer with C. Udave re call
                 with investor.
05/17/23   STV   Attention to payment of Salesforce invoice              0.10         42.50
05/17/23   YKR   Revise written summary of Ana Munoz interview to        1.40        595.00
                 include banking and crypto wallet information for
                 Ana and Olegario Munoz.
05/17/23   YKR   Draft summary and analysis of the accounting            2.80      1,190.00
                 department at CFX's office in Houston based on a
                 review of the Cindy Mezomo interview.
05/18/23   STV   Emails with counsel for Ana Munoz, confer with the      0.30        127.50
                 team re CFX emails
05/19/23   STV   Call with Y. Rashad re analysis of interviews with      0.60        255.00
                 leaders and CFX employees and other case
                 management tasks with the team
05/19/23   YKR   Correspond with counsel for Ana Munoz and               0.20         85.00
                 Olegario Munoz to schedule meeting in order to gain
                 access to CFX Google drive containing leader
                 spreadsheets and other company documents.
05/19/23   YKR   Draft summary and analysis of the operations of the     2.40      1,020.00
                 CFX office in Chicago based on a review of the
                 recorded interview of Ismael Sanchez.
05/19/23   YKR   Review audio recorded interview of Ismael Sanchez       2.20        935.00
                 to determine the establishment of the CFX office in
                 Chicago.
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 11 of 25
                                                                                                 10



                                                               33206.389768 3021400 08/09/2023

05/22/23   CAU   Correspond with ER to schedule upcoming interview          0.40        170.00
                 and answer preliminary questions; correspond with
                 Sonila regarding strategy for interview.
05/22/23   STV   Call and email with Code Red security systems and          0.50        212.50
                 confer with the team re CCTV system at Blalock,
                 coordinate subpoena to the same
05/22/23   STV   Skim documents produced by CFX Leader                      0.60        255.00
05/22/23   STV   Coordinate updates to Receiver's website                   0.10         42.50
05/22/23   STV   Emails with the team and counsel for Chavez re Hair        0.20         85.00
                 Salon lease agreement
05/22/23   STV   Coordinate with the e-discovery team re production         0.20         85.00
                 of documents and CFX passwords
05/22/23   YKR   Review audio recorded interview of Cindy Mezomo            3.00      1,275.00
                 and draft a summary and analysis of the CFX
                 accounting operations identified in the interview.
05/22/23   YKR   Revise written summary of Cindy Mezomo interview           2.20        935.00
                 to include individuals identified at the Blalock office
                 at the time of closure.
05/22/23   YKR   Discuss strategy and status for motion to compel           1.00        425.00
                 and prepare for upcoming call with the SEC with S.
                 Themeli, J. Lewis, S. Askue.
05/23/23   CAU   Correspond with CB to schedule upcoming interview          0.40        170.00
                 and answer preliminary questions; correspond with
                 Sonila regarding strategy for interview.
05/23/23   STV   Review information on NJ CFX leader and                    0.30        127.50
                 coordinate demand letter
05/23/23   STV   Call and email with C. Bustamante, CFX leader in           0.30        127.50
                 Atlanta and coordinate follow up call
05/23/23   STV   Coordinate update of case management charts;               0.80        340.00
                 review analysis of calls with CFX employees and
                 leaders prepared by Y. Rashad; revise demand
                 letters and subpoenas
05/23/23   STV   Review email from FIEL group re CFX leaders                0.20         85.00
05/23/23   YKR   Draft summary and analysis of the process for              2.20        935.00
                 opening new contracts for out of state leaders based
                 on a review of the recorded interview of Ismael
                 Sanchez.
05/23/23   YKR   Draft summary and analysis of the process for              1.70        722.50
                 calculating elite bonuses for CFX leaders based on
                 a review of the recorded interview of Ismael
                 Sanchez.
05/23/23   YKR   Revise summary and analysis of CFX operations in           1.30        552.50
                 Chicago based on a review of the recorded interview
                 of Ismael Sanchez.
05/23/23   YKR   Draft summary and analysis of the relationship             2.40      1,020.00
                 between the CFX office in Houston and the CFX
                 office in Chicago based on a review of the recorded
                 interview of Ismael Sanchez.
05/24/23   STV   Call with M. Fleming re updates to case                    0.40        170.00
                 management documents and additional document
                 review
05/24/23   YKR   Revise written summary of Ismael Sanchez                   0.60        255.00
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 12 of 25
                                                                                                11



                                                              33206.389768 3021400 08/09/2023

                 interview per edits from S. Themeli.
05/24/23   YKR   Draft summary and analysis of the income                  1.90        807.50
                 generated in CFX's Chicago office based on a
                 review of the recorded interview of Ismael Sanchez.
05/24/23   YKR   Revise written summary of Ana Munoz's interview           0.30        127.50
                 per additional edits from S. Themeli.
05/24/23   YKR   Draft summary and analysis of leader spreadsheets         2.50      1,062.50
                 for out of state leaders at CFX based on a review of
                 the recorded interview of Ismael Sanchez.
05/24/23   YKR   Correspond with M. Fleming to prepare subpoenas           0.70        297.50
                 and demand letters to several CFX leaders.
05/24/23   YKR   Revise written summary of Cindy Mezomo interview          0.70        297.50
                 per edits from S. Themeli.
05/25/23   STV   Skim documents produced by CFX leaders and                0.80        340.00
                 prepare correspondence to counsel for OT and MS.
05/25/23   CAU   Correspond with Sonila and Yara regarding                 0.40        170.00
                 interview summaries for interviews with RZ, GC, SV,
                 IS, SA, RT; review preliminary interview summary
                 notes.
05/25/23   YKR   Attend call with SEC to discuss status of litigation      1.10        467.50
                 and development of evidence.
05/26/23   STV   Confer with C. Udave re call with CFX employee, E.        0.30        127.50
                 R.
05/26/23   STV   Prepare for and conduct call with CB and SM, CFX          1.20        510.00
                 leaders, supplement summary of the call prepared
                 by C. Udave and coordinate follow up requests for
                 documents and updates to the leaders chart
05/26/23   STV   Skim documents produced by CFX leader S. R.,              0.80        340.00
                 follow up with counsel on same; update case
                 management documents; confer with SEC counsel
                 re case documents; call with the team re issuing
                 additional deposition subpoenas and demand
                 letters; review list of investors contacting Receiver
05/26/23   CAU   Attempt to reach out to ER via numerous methods to        0.50        212.50
                 conduct interview at a time agreed to by ER;
                 correspond with Sonila regarding interview
                 summaries requested by SEC.
05/26/23   CAU   Correspond with Sonila and prepare for interview          2.80      1,190.00
                 with CB; conduct detailed interview with CB and EA;
                 memorialize and summarize notes from interview;
                 internally distribute notes; draft and send detailed
                 email in Spanish and English to CB, EA, and S
                 based on correspondence with Sonila.
05/26/23   YKR   Correspond with S. Themeli and M. Fleming                 0.50        212.50
                 regarding status of subpoenas and demand letters
                 to CFX leaders and responses to same.
05/27/23   CAU   Draft SEC report based on RZ interview.                   1.50        637.50
05/30/23   CAU   Draft and finalize a preliminary draft of SEC report      2.60      1,105.00
                 based on RT interview.
05/30/23   CAU   Draft and finalize a preliminary draft of SEC report      5.10      2,167.50
                 based on RZ interview.
05/30/23   YKR   Correspond with L. Percy regarding production of          0.50        212.50
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 13 of 25
                                                                                               12



                                                             33206.389768 3021400 08/09/2023

                 Salesforce data.
05/30/23   YKR   Review and analyze master crypto address list in         0.60        255.00
                 preparation for upcoming conference with the SEC.
05/30/23   LJG   Research to obtain background check on individual        0.30         54.00
                 for Mia Fleming.
05/30/23   YKR   Correspond with counsel for Ana and Olegario             0.30        127.50
                 Munoz regarding access to CFX Google drive and
                 CFX issued cellphone and laptop.
05/31/23   CAU   Draft and finalize a preliminary draft of SEC report     2.10        892.50
                 based on SA interview, as requested by SEC.
05/31/23   CAU   Per voice mails from RQ and ER, reach out to RQ          0.40        170.00
                 and ER to set up time for a formal interview.
05/31/23   YKR   Draft emails to CFX leaders in New Jersey                0.70        297.50
                 requesting interviews of same.
05/31/23   YKR   Meet with Ana Munoz and counsel to change the            0.60        255.00
                 password to CFX Google drive account in order to
                 gain access to CFX company documents.
06/01/23   CAU   Draft and finalize a preliminary draft of SEC report     7.10      3,017.50
                 based on SV interview; correspond with Yara
                 regarding finalizing all four SEC reports.
06/01/23   YKR   Review and analyze data collected from CFX               2.00        850.00
                 Google drive.
06/01/23   YKR   Correspond with counsel for Ana Munoz and                0.40        170.00
                 Olegario Munoz regarding CFX google accounts in
                 order to gain access to CFX financial information
                 and records.
06/01/23   YKR   Correspond with New Jersey investors requesting          0.40        170.00
                 call to discuss CFX operations in New Jersey.
06/01/23   YKR   Revise summaries of interviews with CFX leaders to       1.20        510.00
                 share with the SEC.
06/01/23   YKR   Meet with counsel for Ana and Olegario Munoz to          0.60        255.00
                 gain access to CFX google accounts.
06/02/23   CAU   Per Sonila's request, correspond with RQ regarding       0.30        127.50
                 involvement in CrytpoFX; update internal records
                 regarding RQ's information.
06/02/23   YKR   Draft subpoenas for the production of documents to       2.70      1,147.50
                 various leaders at CFX who have provided no
                 response to demand letters.
06/02/23   YKR   Draft demand letters to CFX leaders for production       2.20        935.00
                 of documents and deposition testimony.
06/05/23   CAU   Further review and finalize SEC reports for RZ, SV,      0.80        340.00
                 SA, RT based on Yara's review; submit SEC reports
                 to Sonila for review; correspond with Sonila
                 regarding future interviews.
06/05/23   STV   Revise and supplement analysis of interviews with        0.80        340.00
                 CFX leaders
06/05/23   STV   Email with counsel for SEC re Salesforce data            0.20         85.00
                 production
06/05/23   YKR   Revise demand letter to Juan Gomez requesting            1.90        807.50
                 production of documents and deposition testimony.
06/05/23   YKR   Revise interview summary of Roberto Zavala per           1.30        552.50
                 edits from S. Themeli.
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 14 of 25
                                                                                                13



                                                              33206.389768 3021400 08/09/2023

06/05/23   YKR   Discuss discovery of assets, status of asset              1.00        425.00
                 collection, and financial tracing of crypto currency
                 during call with J. Lewis, S. Themeli, and S. Askue.
06/06/23   CAU   Review documentation that we requested and that           0.50        212.50
                 SA provided; translate correspondence from SA and
                 distribute to internal team.
06/06/23   CAU   Review documents requested and sent over by CB;           0.40        170.00
                 internally correspond regarding future request for
                 more documents from CB.
06/06/23   STV   Revise and supplement analysis of interviews with         0.70        297.50
                 CFX leaders
06/06/23   YKR   Continue drafting demand letters for various CFX          2.40      1,020.00
                 leaders requesting documents and deposition
                 testimony.
06/06/23   YKR   Correspond with library regarding Accurint reports        0.50        212.50
                 on various CFX leaders which list the address and
                 phone numbers for such leaders.
06/06/23   YKR   Revise draft interview summary of Sulay Aguado per        1.20        510.00
                 edits from S. Themeli to share with the SEC at
                 upcoming meeting.
06/06/23   YKR   Revise draft interview of Saul Varella per edits from     0.90        382.50
                 S. Themeli.
06/06/23   YKR   Revise summary of Rosa Terran interview per edits         1.30        552.50
                 from S. Themeli.
06/07/23   CAU   Further finalize SEC reports for RZ, SA, and RT;          3.70      1,572.50
                 correspond with ER to try to schedule interview;
                 correspond with SA regarding spreadsheets
                 provided.
06/07/23   STV   Prepare for and interview CFX employee/volunteer          1.30        552.50
                 E.R. and confer with the team re follow up matters
06/07/23   STV   Review documents produced by S.A., CFX leader,            0.40        170.00
                 attention to payment of monthly allowance to
                 Benvenuto; update Receivership website with new
                 property sale.
06/07/23   YKR   Interview Elizabeth Reyes regarding her                   2.40      1,020.00
                 involvement with CFX and CFX operations.
06/07/23   YKR   Draft summary of Elizabeth Reyes interview.               2.90      1,232.50
06/07/23   YKR   Correspond with E. Reyes regarding production of          0.40        170.00
                 CFX documents and request for further information
                 regarding CFX operations.
06/08/23   STV   Supplement litigation plan                                0.80        340.00
06/08/23   STV   Review documents produced by SA and ER, CFX               0.40        170.00
                 leaders
06/08/23   STV   Confer with SEC counsel re case documents and             0.40        170.00
                 information; coordinate preparation of deposition
                 subpoenas
06/08/23   YKR   Revise interview summary of Rosa Teran per                0.90        382.50
                 additional edits from S. Themeli.
06/08/23   YKR   Implement revisions to interview summaries of R.          1.50        637.50
                 Zavala, R. Teran, S. Aguado, and S. Varela and
                 finalize to be sent to the SEC.
06/08/23   YKR   Review and analyze documents produced by E.               1.40        595.00
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 15 of 25
                                                                                                14



                                                              33206.389768 3021400 08/09/2023

                 Reyes following interview.
06/08/23   YKR   Correspond with E. Reyes regarding production of          0.30        127.50
                 CFX documents following interview.
06/08/23   YKR   Revise interview summary of S. Varela per                 0.80        340.00
                 additional edits from S. Themeli.
06/08/23   YKR   Continue to revise summary of S. Aguado per               0.90        382.50
                 supplemental edits from S. Themeli.
06/08/23   YKR   Continue to revise summary of R. Zavala per edits         0.90        382.50
                 from S. Themeli.
06/09/23   YKR   Draft demand letter to M. Fuentes requesting              1.30        552.50
                 production of CFX related documents and
                 deposition testimony regarding CFX involvement.
06/09/23   PEP   Analyze initial documents for background                  0.60        255.00
                 information and internal workup.
06/09/23   YKR   Draft subpoena for M. Bucceo for the production of        1.30        552.50
                 documents and deposition testimony as a follow-up
                 to previously issued demand letter.
06/09/23   YKR   Draft demand letter to Raul Vasquez requesting            1.40        595.00
                 production of CFX documents and deposition
                 testimony.
06/09/23   YKR   Draft demand letter to Antonio Yennez requesting          1.20        510.00
                 production of CFX documents and deposition
                 testimony.
06/09/23   YKR   Draft subpoena to Omar Chavez requesting                  0.90        382.50
                 documents and deposition testimony as a follow-up
                 to previously issued demand letter.
06/09/23   YKR   Draft subpoena to J. Galarza requesting documents         1.00        425.00
                 and deposition testimony.
06/09/23   YKR   Draft subpoena to Juan Gomez requesting                   1.20        510.00
                 production of documents and deposition testimony.
06/12/23   STV   Confer with Y. Rashad re follow up calls with sales       0.50        212.50
                 people; confer with e-discovery team re status of
                 document
06/12/23   YKR   Call with I. Oviedo regarding receivership order in       0.40        170.00
                 response to inquiry from her regarding same.
06/12/23   YKR   Discuss case strategy and fact development with J.        0.60        255.00
                 Lewis, S. Askue, G. Hayes and S. Themeli.
06/12/23   YKR   Draft summary of call with J. Lewis, P. Pritchett, S.     0.60        255.00
                 Askue, G. Hays, and M. Fleming and circulate to the
                 receivership team for comment and follow up.
06/13/23   YKR   Draft summary of the interview of Gloria Castaneda.       3.70      1,572.50
06/13/23   YKR   Review and analyze recorded interview of Gloria           2.30        977.50
                 Castaneda.
06/14/23   STV   Call with P Pritchet re case status and litigation        1.10        467.50
                 strategy
06/14/23   STV   Call with investor Maria E.                               0.20         85.00
06/14/23   PEP   Further analysis of upcoming action items.                1.30        552.50
06/14/23   YKR   Continue drafting interview summary of Gloria             0.80        340.00
                 Castaneda.
06/14/23   YKR   Revise interview summary of G. Castaneda to be            1.50        637.50
                 sent to SEC.
06/15/23   YKR   Draft summary of conference with SEC and circulate        0.60        255.00
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 16 of 25
                                                                                                     15



                                                                   33206.389768 3021400 08/09/2023

                     same.
06/15/23   YKR       Discuss strategy for expansion of receivership and         1.00        425.00
                     turnover of real property with J. Lewis, S. Askue, C.
                     Geiser, and P. Pritchett.
06/15/23   PEP       Participate in call with SEC regarding status of           1.00        425.00
                     investigation.
06/15/23   PEP       Analyze various issues related to Blocktrace               1.00        425.00
                     analysis in advance of call with SEC.
06/15/23   YKR       Conference with SEC regarding Blocktrace analysis          1.00        425.00
                     and status of asset recovery.
06/16/23   CAU       Correspond with ER regarding documentation                 0.40        170.00
                     provided; review documentation; internally
                     correspond regarding future document requests.
06/16/23   STV       Correspondence with counsel for Chavez and                 0.20         85.00
                     Webster re sale of personal property.
06/16/23   STV       NO BILL Finalize Receiver's second fee application         0.50    No Charge
                     and coordinate filing
06/19/23   YKR       Draft demand letter to Julio Taffinder's children for      2.30        977.50
                     turnover of funds received from Mauricio Chavez.
06/20/23   YKR       Correspond with property listing agent regarding           0.40        170.00
                     sale of real property.
06/20/23   YKR       Discuss status of asset recovery and expansion of          0.60        255.00
                     receivership on call with J. Lewis, P. Pritchett, and
                     S. Askue.
06/20/23   YKR       Revise draft subpoenas and finalize for mailing.           1.10        467.50
06/21/23   YKR       Create spreadsheet tracking status of                      2.80      1,190.00
                     correspondences sent to CFX investors.
06/21/23   YKR       Discuss strategy of asset recovery with P. Pritchett.      0.50        212.50
06/22/23   YKR       Create spreadsheet tracking status of                      1.60        680.00
                     correspondences sent to leaders at CFX and
                     responses to same.
06/26/23   CAU       Correspond with ER; correspond with Yara and               0.30        127.50
                     internal team regarding documents sent by ER.
06/26/23   PEP       Review status of various action items for purposes         0.70        297.50
                     of ensuring items are being advanced..
06/26/23   YKR       Meet with J. Lewis, P. Pritchett, S. Askue, G. Hayes       1.00        425.00
                     to discuss status of case and recovery of assets.
06/27/23   PEP       Review cast of characters for identification of key        0.30        127.50
                     personnel.
06/30/23   YKR       Revise section of case tracker with updates to             2.30        977.50
                     correspondences issued to CFX leaders.
Subtotal for SEC04   Case Admin                                               247.60    $96,292.00

SEC05      Claims Admin

06/15/23   CMG       Attend team meeting to determine additional third          1.30       $552.50
                     parties to send demands to.
06/28/23 PEP         Confer with victim regarding claims submissions.           0.20         85.00
Subtotal for SEC05   Claims Admin                                               1.50       $637.50
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 17 of 25
                                                                                                  16



                                                                33206.389768 3021400 08/09/2023


SEC08      Business Analyis

04/03/23   CAU       Correspond with investor JoAnna Luna regarding          0.40       $170.00
                     receivership case; correspond with supervisor
                     regarding interview strategy.
04/26/23             Mia Fleming (CHI): Research on international            1.00        180.00
                     company Switchain
Subtotal for SEC08   Business Analyis                                        1.40       $350.00

SEC10      Data Analysis

04/03/23   LWP       Provide matter-specific database, document and          0.60       $108.00
                     case team support.
04/05/23   LWP       Provide matter-specific database, document and          0.30         54.00
                     case team support.
04/12/23   LWP       Provide matter-specific database, document and          0.70        126.00
                     case team support.
04/25/23   LWP       Provide matter-specific database, document and          0.80        144.00
                     case team support.
05/05/23   LWP       Provide matter-specific database, document and          0.70        126.00
                     case team support.
05/08/23   LWP       Provide matter-specific database, document and          0.50         90.00
                     case team support.
05/22/23   LWP       Provide matter-specific database, document and          0.40         72.00
                     case team support.
05/23/23   LWP       Provide matter-specific database, document and          0.40         72.00
                     case team support.
06/08/23   LWP       Provide matter-specific database, document and          0.30         54.00
                     case team support.
06/15/23   LWP       Provide matter-specific database, document and          0.40         72.00
                     case team support.
Subtotal for SEC10   Data Analysis                                           5.10       $918.00

SEC11      Status Reports

05/01/23   STV       Incorporate Receiver's and team's comments on the       0.90       $382.50
                     Receiver's report, prepare exhibits and coordinate
                     filing of the same
05/01/23   STV       Revise and supplement Receiver's third interim          0.60        255.00
                     report
05/02/23   MDD       Mia Fleming (CH): Research to obtain a background       0.20         36.00
                     report for Juan Efrain Torres in Texas.
05/16/23   MDD       Mia Fleming (CH): Research to identify and obtain       1.00        180.00
                     background reports for Hellen Interano, Gabriel
                     Gonzales, Rina Mendieta and Juan Puac.
06/06/23   MDD       Mia Fleming (CH): Research to try to identify and       1.00        180.00
                     obtain background reports for 4 individuals in
                     Houston, TX.
Subtotal for SEC11   Status Reports                                          3.70     $1,033.50
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 18 of 25
                                                                                                        17



                                                                      33206.389768 3021400 08/09/2023


SEC12      Litigation Consulting

04/03/23   ALTZ         Telephone conference with SalesForce regarding             0.60       $255.00
                        extending SalesForce.
04/03/23   ALTZ         Communicate with Ms. Themeli regarding extending           0.10         42.50
                        SalesForce.
04/04/23   ALTZ         Communicate with Ms. Shane of SalesForce                   0.10         42.50
                        regarding the SalesForce licenses.
04/04/23   ALTZ         Communicate with Mr. Lewis and Ms. Themeli                 0.10         42.50
                        regarding extending SalesForce licenses.
04/04/23   ALTZ         Telephone conference with Ms. Shane, Mr.                   0.40        170.00
                        Rowedder and Ms. Memon of SalesForce regarding
                        extending SalesForce.
05/15/23   YKR          Review and analyze status of litigation with S.            0.50        212.50
                        Themeli, J. Lewis, and S. Askue.
06/15/23   PEP          Consider pre-litigation steps for various interested       1.30        552.50
                        parties.
06/20/23   PEP          Review outstanding action items for purposes of            0.50        212.50
                        making litigation determinations.
06/21/23   PEP          Further attention to pursuit of Vargas assets.             0.90        382.50
06/22/23   PEP          Further analysis of claims against Vargas.                 0.70        297.50
06/26/23   PEP          Attention to subpoena to Chavez security company           0.20         85.00
                        and failure to respond.
06/26/23   PEP          Finish initial draft of demand letter to Vargas.           1.50        637.50
06/27/23   PEP          Analyze records relating to Subpoena to Code Red           0.40        170.00
                        security company.
06/27/23   PEP          Incorporate additional details into Vargas demand          0.40        170.00
                        letter.
06/29/23 PEP            Attention to targets for litigation.                       0.40        170.00
Subtotal for SEC12      Litigation Consulting                                      8.10     $3,442.50

SEC13      Litigation

04/03/23   SIH          Review proposed Receiver Appointment documents             3.50     $1,487.50
                        and local rules and standing orders related to filing
                        action notifying of receiver appointment and
                        communicate with the Court regarding same
04/03/23   JAW          Attention to communications with ECF clerks re:            0.60        255.00
                        filing of notice of receivership and refiling of same.
04/03/23   MKF          Preparation of documents received in response to           2.50        912.50
                        document subpoena regarding C. Coloma, F. de
                        Maria, and Zelle.
04/04/23   MKF          Perform Relativity searches regarding People's             1.70        620.50
                        Trust Federal Credit Union.
04/04/23   MKF          Organization of case documents for substantive             2.50        912.50
                        attorney review.
04/04/23   CMG          Finalize notice of receiver to be filed in the Northern    0.60        255.00
                        District of GA.
04/05/23   STV          Analysis of 5th amendment cases in civil litigation        3.50      1,487.50
                        involving company records in preparation for drafting
                        motion to compel
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 19 of 25
                                                                                                18



                                                              33206.389768 3021400 08/09/2023

04/05/23   MKF   Organization of received case documents for               3.20      1,168.00
                 substantive attorney review.
04/05/23   MKF   Preparation of correspondence to Investors                1.20        438.00
                 regarding payment activities.
04/06/23   CMG   Communicate with Clerk' s office in Northern District     0.40        170.00
                 of Georgia regarding notice of appointment of
                 receiver.
04/12/23   MKF   Preparation of Demand Letters to S. Varela and L.         2.00        730.00
                 Serrano.
04/12/23   MKF   Perform searches regarding L. Serrano and S.              2.00        730.00
                 Varela.
04/13/23   KKP   Revise receiver's motion to compel.                       0.50        212.50
04/17/23   MKF   Preparation of Receiver's Subpoena of Documents           2.00        730.00
                 to Colony Ridge Land LLC and Colony Ridge
                 Development LLC.
04/18/23   MKF   Review of Plaintiff's personal property list and          2.30        839.50
                 agreed property list.
04/20/23   STV   Revise and supplement motion to compel, prepare           1.20        510.00
                 exhibits to the same
04/21/23   MKF   Preparation of exhibits to be filed with Receiver's       2.00        730.00
                 Motion to Compel
04/24/23   STV   Draft Receiver's Third Interim Report; update             3.20      1,360.00
                 exhibits to th emotion to compel, emails with counsel
                 for Chavez re same; coordinate filing of the motion;
                 review email form Counsel re motion to modify TRO
                 and receivership order
04/24/23   MKF   Perform Relativity searches regarding M. Chavez           1.00        365.00
                 correspondence.
04/24/23   MKF   Continued preparation of exhibits to be filed with        2.20        803.00
                 Receiver's Motion to Compel
04/26/23   MKF   Preparation of Receiver's Subpoena for Documents          2.00        730.00
                 to Binance.US and Coinbase.
04/28/23   MKF   Preparation and organization of materials to be           2.00        730.00
                 added to Receiver's website.
05/01/23   MKF   Perform Relativity searches regarding leader J. E.        1.50        547.50
                 Torres.
05/01/23   MKF   Preparation of documents received in response to          2.50        912.50
                 document subpoena regarding American Express.
05/02/23   STV   Prepare for and conduct interview of AM, CFX              3.30      1,402.50
                 employee, confer with the S. Askue and Receiver re
                 same
05/02/23   STV   Revise subpoenas and demand letters and                   2.30        977.50
                 coordinate service of the same; confer with Hays
                 group re new crypto wallets; review discovery
                 responses from Binance.US and confer with Hays
                 Group re same; call with team re upcoming tasks
05/02/23   MKF   Preparation of Demand Letters to S. Varela and L.         2.50        912.50
                 Serrano.
05/02/23   MKF   Organization of case documents for substantive            2.50        912.50
                 attorney review.
05/03/23   MKF   Preparation of Receiver's Subpoena of Documents           1.00        365.00
                 to Switchain.
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 20 of 25
                                                                                                19



                                                              33206.389768 3021400 08/09/2023

05/03/23   MKF   Organization of case pleadings to be uploaded to          1.00        365.00
                 Receiver's website.
05/04/23   MKF   Organization of documents in Response to                  2.00        730.00
                 Receiver's Subpoena regarding G. Oseguera and !.
                 Sanchez.
05/05/23   MKF   Organization of case documents for substantive            2.50        912.50
                 attorney review.
05/08/23   MKF   Review and analysis of background reports                 2.50        912.50
                 regarding A. Aich, R. Guilfarro, H. Salido, R. Zavala
                 and G. Castaneda.
05/12/23   MKF   Preparation and organization of M. Chavez list of         1.00        365.00
                 property to be submitted and turned over to the
                 Receiver.
05/15/23   STV   Coordinate preparation of additional subpoenas to         0.40        170.00
                 third parties
05/15/23   MKF   Preparation of documents received in response to          1.50        547.50
                 document subpoena regarding Switchain and S.
                 Reyes.
05/15/23   MKF   Review and analysis of background reports                 2.50        912.50
                 regarding H. Interano, R. Mendieta and J. Puac.
05/18/23   STV   Confer with the Hays group re subpoena responses          0.30        127.50
                 from crypto currency platforms and coordinate follow
                 up letters
05/18/23   STV   Coordinate service of notices of lis pendens filed in     0.10         42.50
                 Liberty county
05/22/23   STV   Review Chavez's response to Motion to Compel and          1.20        510.00
                 draft Reply in support of the motion; confer with the
                 Receiver re same
05/22/23   MKF   Preparation of Receiver's Subpoena of Documents           1.50        547.50
                 to Code Red Security Systems.
05/23/23   STV   Supplement and revise reply in support of motion to       1.40        595.00
                 compel, coordinate filing, confer with the Receiver
                 and team re same
05/23/23   MKF   Preparation of Cease and Desist letter to E. Chalco.      0.50        182.50
05/24/23   STV   Review summaries of SalesForce and leader                 0.70        297.50
                 commissions prepared by S. Askue in preparation of
                 call with counsel for SEC.
05/24/23   MKF   Organization of case documents for substantive            2.50        912.50
                 attorney review.
05/25/23   STV   Prepare for and attend status call with SEC counsel       1.50        637.50
06/05/23   MKF   Perform searches regarding Demand Letters and             2.30        839.50
                 follow-up communications.
06/05/23   MKF   Preparation of Cease and Desist Letters to be             2.50        912.50
                 shared with counsel.
06/06/23   STV   Analysis of case documents and prepare litigation         0.70        297.50
                 strategy memorandum
06/08/23   MKF   Preparation of Demand Letters to M. Palma, R.             2.00        730.00
                 Rivera, S. Martinez, J. Oviedo, J. Hernandez, S.
                 Garcia and P. Enriques.
06/12/23   MKF   Perform searches regarding Leaders Excel                  3.00      1,095.00
                 spreadsheets.
06/13/23   STV   Review analysis of Receivership assets held by A.         2.60      1,105.00
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 21 of 25
                                                                                                    20



                                                                  33206.389768 3021400 08/09/2023

                       Vargas; prepare case plan and upcoming tasks and
                       analysis of third party claims
06/15/23   STV         Meeting with the Receiver and team re litigation        1.20        510.00
                       strategy
06/15/23   MKF         Perform searches regarding data and case                3.00      1,095.00
                       information to be included with Receiver's Fee
                       Application.
06/16/23   MKF         Continued searches regarding data and case              3.00      1,095.00
                       information to be included with Receiver's Fee
                       Application.
06/21/23   PEP         Further attention to decisions towards viable           1.50        637.50
                       litigiation prospects.
06/26/23   MKF         Perform searches regarding Saleforce data.              3.20      1,168.00
06/29/23   MKF         Organization of recent case pleadings to be added       0.80        292.00
                       to Receiver's Website.
Subtotal for SEC13     Litigation                                            106.60    $40,751.00

SEC14      Forensic Accounting

05/12/23   STV         Review analysis of defendant's CFX/CBT related          1.30       $552.50
                       transactions and confer with Scott Askue and
                       Receiver re same
05/18/23   STV         Email with Hays group and Coinbase re tax               0.20         85.00
                       reporting to IRS on crypto accounts
Subtotal for SEC14     Forensic Accounting                                     1.50       $637.50

SEC16      Valuation

04/03/23   LWP         Coordinate with vendor regarding document               0.50        $90.00
                       processing for review of documents in connection
                       with production from third parties.
05/01/23   LWP         Coordinate with vendor regarding document               0.50         90.00
                       processing for review of documents in connection
                       with production from third parties.
05/02/23   LWP         Coordinate with vendor regarding document               0.50         90.00
                       processing for review of documents in connection
                       with production from third parties.
05/15/23   LWP         Coordinate with vendor regarding document               0.50         90.00
                       processing for review of documents in connection
                       with production from third parties.
Subtotal for SEC16     Valuation                                               2.00      $360.00
Total                                                                        409.10   $157,852.00

Timekeeper Summary

Initials   Name                                                   Hours       Rate       Amount
SIH        Stephen I. Hansen                                        3.50   $425.00      $1,487.50
ALTZ       Arlen L. Tanner                                          5.30    425.00       2,252.50
STV        Sonila Themeli                                         102.00    425.00      43,350.00
JAW        Joshua A. Weiner                                         0.60    425.00         255.00
CMG        Caroline M. Gieser                                       7.40    425.00       3,145.00
    Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 22 of 25
                                                                                                     21



                                                                  33206.389768 3021400 08/09/2023

Initials     Name                                                Hours          Rate      Amount
KKP          Kierra K. Powell                                      3.70       425.00      1,572.50
PEP          Poston E. Pritchett                                  15.50       425.00      6,587.50
YKR          Yara K. Rashad                                      128.50       425.00     54,612.50
CAU          Cesar A. Udave                                       35.20       425.00     14,960.00
MKF          Mia K. Fleming                                       75.90       365.00     27,703.50
MDD          Marit D. Bang                                         2.20       180.00        396.00
LJG          Leslie J. Gasper                                      0.40       180.00         72.00
             Stacey A. Mitchell                                    1.00       180.00        180.00
LWP          Levi W. Percy                                         7.10       180.00      1,278.00
Total Fees                                                       388.30                $157,852.00

Disbursements

Date          Description                                                                 Amount

Expense Code:             E101
05/07/23    Mayra Malone Reporting, Inc - Copies Mayra Malone Reporting, Inc,             $116.80
            Transcript of March 23, 2023 show cause hearing before Judge Hanen
Subtotal for     E101                                                                     $116.80

Expense Code:            E102
04/14/23    Imaging Services - Scan Paper Documents (944 @ 0.10)                           $94.40
05/02/23    Imaging Services - Print Color Document (19 @ 0.50)                              9.50
05/11/23    Imaging Services - OCR - Create Searchable PDF file or Color Image File          1.76
            (88 @ 0.02)
05/11/23    Imaging Services - Scan Paper Documents (88 @ 0.10)                              8.80
05/15/23    Imaging Services - Print Color Document (12 @ 0.50)                              6.00
05/15/23    Imaging Services - Scan Paper Documents (24 @ 0.10)                              2.40
05/16/23    Imaging Services - Print Color Document (7 @ 0.50)                               3.50
05/19/23    Imaging Services - Print Black and White documents (17 @ 0.12)                   2.04
05/19/23    Imaging Services - Print Color Document (158 @ 0.50)                            79.00
06/09/23    Imaging Services - Create Thumb Drive - 128 Gig (1 @ 70.00)                     70.00
06/14/23    Imaging Services - Scan Paper Documents (23 @ 0.10)                              2.30
Subtotal for     E102                                                                     $279.70

Expense Code:          E106
04/05/23  Westlaw                                                                         $495.05
04/06/23  Westlaw                                                                         2,310.23
04/06/23  Westlaw                                                                           336.43
04/11/23  Westlaw                                                                           214.91
04/21/23  Westlaw                                                                           825.08
04/26/23  Lexis Legal Research                                                               84.15
04/27/23  Westlaw                                                                           163.20
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 23 of 25
                                                                                                   22



                                                                 33206.389768 3021400 08/09/2023

Date        Description                                                                 Amount
04/30/23    Legal Database Searches Accurint                                               80.27
04/30/23    Pacer                                                                           0.60
04/30/23    Pacer                                                                           6.10
05/08/23    Westlaw                                                                       154.80
05/08/23    Courtlink                                                                      84.15
05/30/23    Courtlink                                                                      84.15
05/31/23    Legal Database Searches Accurint                                               95.90
06/30/23    Legal Database Searches Accurint                                              159.05
Subtotal for     E106                                                                  $5,094.07

Expense Code:             E107
05/15/23    Delivery-UPS                                                                  $15.57
06/05/23    Delivery - UPS                                                                 15.68
06/08/23    Delivery - Federal Express - 772392617889 - from Arlen Tanner to ENF-          19.44
            CPU (U.S. Securities & Exchange
Subtotal for      E107                                                                    $50.69

Expense Code:          E108
05/09/23  Special Postage                                                                  $4.44
05/09/23  Special Postage                                                                  19.44
05/12/23  Special Postage                                                                   9.72
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                  12.55
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   0.84
05/18/23  Special Postage                                                                   9.00
05/18/23  Special Postage                                                                   9.00
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 24 of 25
                                                                                                     23



                                                                  33206.389768 3021400 08/09/2023

Date        Description                                                                   Amount
05/18/23    Special Postage                                                                  0.84
05/18/23    Special Postage                                                                  9.00
05/18/23    Special Postage                                                                  0.84
05/30/23    Special Postage                                                                 38.88
05/30/23    Special Postage                                                                  8.88
06/06/23    Special Postage                                                                 58.32
06/06/23    Special Postage                                                                 13.32
06/08/23    Special Postage                                                                 15.54
06/08/23    Special Postage                                                                 68.04
06/30/23    Houston Express, Inc - Postage Houston Express, Inc, Outgoing mail              14.00
            delivery and fuel surcharges, June 2023.
Subtotal for      E108                                                                    $381.21

Expense Code:            E110
10/06/22    Caroline Gieser, Taxi/Car Service, SEC Receivership - Houston, TX,             $41.61
            09/19/22
10/06/22    Caroline Gieser, Taxi/Car Service, SEC Receivership - Houston, TX,              35.89
            09/20/22
10/06/22    Caroline Gieser, Airfare - Coach from Atlanta to Houston, SEC Receivership     481.20
            - Houston, TX, 09/19/2022 - 09/20/2022
10/06/22    Caroline Gieser, Lodging, SEC Receivership - Houston, TX, 09/19/2022 -         168.36
            09/20/2022
10/19/22    Caroline Gieser, Lodging, SEC Receivership - Houston. TX, 09/30/2022 -         827.19
            10/03/2022
10/19/22    Caroline Gieser, Car Rental, SEC Receivership - Houston. TX, 09/30/2022 -      679.13
            10/03/2022
10/19/22    Caroline Gieser, Taxi/Car Service, SEC Receivership - Houston. TX,              43.14
            10/03/22
10/19/22    Caroline Gieser, Taxi/Car Service, SEC Receivership - Houston. TX,              39.57
            09/30/22
04/05/23    Ruby Hyde - Travel Related Expense Ruby, Taxi/Car Service from ,                10.02
            COURT FILING FEE FOR MISCELLANEOUS ACTION IN CONNECTICUT,
            04/05/2023
Subtotal for      E110                                                                   $2,326.11

Expense Code:          E111
10/06/22  Caroline Gieser, Breakfast, SEC Receivership - Houston, TX, 09/20/22              $9.20
10/06/22  Caroline Gieser, Breakfast, SEC Receivership - Houston, TX, 09/19/22              11.64
10/06/22  Caroline Gieser, Lunch, SEC Receivership - Houston, TX, 09/20/22                  24.56
10/06/22  Caroline Gieser, Dinner, SEC Receivership - Houston, TX, 09/19/22                 33.90
10/06/22  Caroline Gieser, Hotel - Meals Other, SEC Receivership - Houston, TX,              4.33
          09/19/22
   Case 4:22-cv-03359 Document 86-2 Filed on 08/17/23 in TXSD Page 25 of 25
                                                                                                        24



                                                                    33206.389768 3021400 08/09/2023

Date        Description                                                                      Amount
10/19/22    Caroline Gieser, Dinner, SEC Receivership - Houston. TX, 10/01/22                  28.89
Subtotal for      E111                                                                       $112.52

Expense Code:            E112
03/06/23    Commerce Bank - Court Filing Fees Commerce Bank, Notice of filing                 $49.00
04/03/23    Stephen I. Hansen - Court Filing Fees Steve, Filing Fees, Filing Fee-              49.00
            Boston, MA, 04/03/2023
04/05/23    Ruby Hyde - Court Filing Fees Ruby, Filing Fees, COURT FILING FEE                   49.00
            FOR MISCELLANEOUS ACTION IN CONNECTICUT, 04/05/2023
04/16/23    Sonila Themeli - Court Filing Fees Sonila, Court Costs, Liberty County,           360.00
            Texas recording fee for 12 Notices of Lis Pendens., 04/16/2023
Subtotal for      E112                                                                       $507.00

Expense Code:              E118
02/28/23    Gulfstream Legal Group LLC - Litigation Support Gulfstream Legal Group          $8,630.35
            LLC, SEC Invoice for February
03/31/23    Gulfstream Legal Group LLC - Litigation Support Gulfstream Legal Group           6,210.43
            LLC, Relativity managed services and electronic data collection invoice for
            March 2023, related to SEC v. Mauricio Chavez, et al.
04/30/23    Gulfstream Legal Group LLC - Litigation Support Gulfstream Legal Group           4,359.25
            LLC, Relativity managed services and electronic data collection invoice for
            April 2023, related to SEC v. Mauricio Chavez, et al.
05/31/23    Gulfstream Legal Group LLC - Litigation Support Gulfstream Legal Group          19,469.45
            LLC, Relativity managed services and electronic data collection invoice for
            May 2023, related to SEC v. Mauricio Chavez, et al.
05/31/23    Valerie Muniz Hayes - Litigation Support Valerie Muniz Hayes, Real                  40.00
            property notice of Lis Pendens and copies of some during March 2023.
            Elite/Chrome dark period.
Subtotal for      E118                                                                     $38,709.48

Expense Code:              E124
03/06/23    Commerce Bank - Advertising Commerce Bank, Greensheet Advertisement               $24.50
            for Sale of Property
03/06/23    Commerce Bank - Advertising Commerce Bank, Greensheet Advertisement                 23.80
            for Sale of Property
04/04/23    Commerce Bank - Advertising Commerce Bank, The Green Sheet                          24.50
            Advertisement.
Subtotal for      E124                                                                        $72.80
Total Disbursements                                                                        $47,650.38


                                         Current Disbursements                              47,650.38

                                         Total Amount Due                                 $205,502.38
